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December 4, 2020

VIA ECF
Hon. Vernon S. Broderick, U.S.D.J.
Thurgood Marshall United States Courthouse
40 Foley Square, Room 415
New York, NY 10007

Re:    In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig., MDL No. 2542; Master
       Docket No. 1:14-md-02542-VSB-SLC: Request to File Under Seal re Reply Memorandum
       of Law By Plaintiffs TreeHouse Foods, Inc., Bay Valley Foods, LLC, and Sturm Foods,
       LLC, In Support of Objections to Magistrate Judge’s Discovery Order

Dear Judge Broderick:

        I write as counsel for Plaintiffs TreeHouse Foods, Inc., Bay Valley Foods, LLC, and Sturm
Foods, Inc. (collectively, “TreeHouse”) in accordance with Your Honor’s Individual Rules &
Practices in Civil Cases 5.B to request leave to file under seal or to redact limited portions of
TreeHouse’s Reply Memorandum of Law in Support of Plaintiffs’ Objections to Magistrate Judge
Cave’s October 30 Discovery Order and accompanying Exhibits 1, 2, 3, 4, and 5, which will be
filed today, December 4, 2020.

       I enclose with this letter request unredacted versions of the letter motion and Exhibits 1, 4,
and 5, with the portions requested to be sealed highlighted. I also enclose unsealed versions of
Exhibits 2 and 3.

       TreeHouse requests that the green-highlighted language in the letter motion be sealed
because it quotes or paraphrases documents that Defendant Keurig Green Mountain, Inc.
(“Keurig”) claims are covered by the attorney-client privilege and is attempting to clawback and
that Keurig also claims are Highly Confidential under the Stipulated Amended Protective Order.
See ECF No. 496.

        TreeHouse requests that the blue-highlighted language in the letter motion be sealed
because it references the transcript of the October 7, 2020 hearing on TreeHouse’s motion
regarding Keurig’s attempt to clawback two documents, the subject of TreeHouse’s Reply filed
today. TreeHouse is presently challenging Keurig’s requested redaction of the October 7, 2020
transcript, and previously submitted a letter on this issue. See ECF No. 1186. However, as Keurig
has requested that this Court keep the entire transcript sealed, see ECF No. 1184, TreeHouse
requests that the blue-highlighted language be kept under seal until this Court rules on Keurig’s
request to keep the entire October 7, 2020 hearing transcript sealed.
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       TreeHouse requests that the yellow-highlighted language in the letter motion be sealed
because it quotes from or paraphrases Exhibits 2 and 3, which Keurig has designated as Highly
Confidential and which TreeHouse also request be sealed.

        TreeHouse requests that the yellow-highlighted language in Exhibits 1, 4, and 5 be sealed
because it contains information designated as Highly Confidential by Keurig pursuant to the
Stipulated Amended Protective Order. TreeHouse further requests that Exhibits 2 and 3 be sealed
in full because they have been designated as Highly Confidential pursuant to the Stipulated
Amended Protective Order, See ECF No. 496.

        Accordingly, TreeHouse asks the Court to permit the letter motion and Exhibits 1, 2, 3, 4,
and 5 to be filed under seal.

       In making this request, TreeHouse is not conceding that any of the information designated
as confidential by Keurig is in fact so, and TreeHouse reserves its rights to challenge such
designations at a later date.

       TreeHouse thanks the Court for its consideration.

                                                                Respectfully submitted,
                                                                   /s/ Evan C. Miller
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                                                                Counsel for Plaintiffs TreeHouse
                                                                Foods, Inc., Bay Valley Foods,
                                                                LLC, and Sturm Foods, Inc.
Enclosure
cc:    Counsel for All Parties (via ECF)
